




















NO. 07-10-0326-CR

&nbsp;

IN THE
COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL E

&nbsp;



FEBRUARY
14, 2011

&nbsp;



&nbsp;

JOSHUA RICKY CHANCY, &nbsp;

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant

v.

&nbsp;

THE STATE OF TEXAS,&nbsp; 

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellee

___________________________

&nbsp;

FROM THE 242ND DISTRICT COURT OF CASTRO
COUNTY;

&nbsp;

NO. A3258-1003; HONORABLE EDWARD LEE
SELF, PRESIDING

&nbsp;



&nbsp;

Memorandum
Opinion

&nbsp;



&nbsp;

Before QUINN, C.J., HANCOCK, J., and BOYD, S.J.[1]

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Joshua Ricky
Chancy challenges the legal sufficiency of the evidence to sustain his
conviction of tampering with evidence.&nbsp; We
affirm the judgment. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In determining
the legal sufficiency of the evidence, we review the record in the light most
favorable to the verdict to ascertain whether a rational trier of fact could
have found the essential elements of the offense beyond a reasonable
doubt.&nbsp; Jackson v. Virginia, 443 U.S. 307, 99 S.Ct. 2781, 61 L.Ed.2d 560
(1979). To convict appellant of tampering with evidence, the State was required
to prove that, knowing that an offense had been committed, appellant
intentionally or knowingly destroyed a glass methamphetamine pipe with intent
to impair its availability as evidence in any subsequent investigation or
official proceeding related to the offense.&nbsp;
Tex. Penal Code Ann. §37.09(d)(1)
(Vernon Supp. 2010).&nbsp; Appellant contends the
evidence is insufficient to show that he knew that an offense, i.e. possession of drug paraphernalia,
had been committed because there is no evidence that he possessed a drug pipe
with intent to use it to inject, ingest, inhale, or otherwise introduce a
controlled substance into his body.&nbsp; Tex. Health &amp; Safety Code Ann. §481.125(a)
(Vernon 2010).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On February
5, 2010, Officers Julian Dominguez and Louis Liscano attempted to serve an
arrest warrant on appellant in Dimmitt at the residence of his mother. &nbsp;They were assisted by Deputy Miguel
Pantoja.&nbsp; Appellant first attempted to
avoid them by leaving via another door of the house.&nbsp; However, he eventually came to the front door
and cursed at the officers.&nbsp; During a
subsequent pat-down search of appellant by Dominguez, appellant used his right
hand to reach into his pocket and pull out a glass pipe.&nbsp; He attempted to hand the pipe to his mother
but when he was unable to reach her, he pushed the officer and smashed the pipe
against the porch shattering the pipe. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
determining whether an item is drug paraphernalia, an authority may consider,
among other things:&nbsp; 1) statements made
by an owner or person in control of the object concerning its use, 2) the
existence of any residue of a controlled substance on the object, 3) the
existence and scope of uses for the object in the community, 4) the physical
design characteristics of the item, and 5) expert testimony concerning the
item’s use.&nbsp; Id. §481.183 (a) (1), (2) ,(9), (10) &amp; (11).&nbsp; Evidence in support of the finding that the
item was a drug pipe and appellant knew it to be one includes:&nbsp; 1) appellant’s forceful action in attempting
to remove the pipe from his person and smash it (which one would presumably not
do with an item that was not contraband), 2) testimony from Dominguez that, in
thirty-one years experience in law enforcement, he has seen a number of drug
pipes and this one was consistent with pipes used to ingest, inhale, or smoke
methamphetamine, crack, or cocaine, 3) testimony from Pantoja that, based on
his training and experience, the pieces of glass appeared to be a “meth pipe,”
4) testimony from Dominguez that there appeared to be a frosted look to the
pipe, and 5) testimony from Pantoja that he observed white residue which
appeared to be contraband on some of the pieces of glass. This evidence, viewed
in its most favorable light, is sufficient to support the jury’s determination
that the item constituted drug paraphernalia.&nbsp;
See Nichols v. State, 886
S.W.2d 324, 326 (Tex. App.–Houston [1st Dist.] 1994, pet. ref’d)
(holding that testimony from a deputy that he saw an aluminum pipe with a bowl
covered by metal mesh and that in his experience this kind of pipe was normally
used to smoke marijuana met the definition of drug paraphernalia).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Accordingly,
the evidence is sufficient to sustain the conviction, and the judgment is
affirmed. &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Per
Curiam 

Do
not publish.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 











[1]Senior Justice John T. Boyd, retired, sitting by assignment.







